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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                            Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



     DECLARATION OF JEFFREY M. GOULD IN SUPPORT OF PLAINTIFFS’ MOTION
     TO STRIKE THE DECLARATION OF THOMAS PATRICK LANE AND PORTIONS
                 OF THE DECLARATION OF THOMAS KEARNEY

            I, Jeffrey M. Gould, hereby declare:

            1.         I am Senior Counsel Oppenheim + Zebrak, LLP, and am admitted to practice law

     in the District of Columbia, among other jurisdictions. I am counsel for Plaintiffs in the above-

     captioned case. I have personal knowledge of all facts stated in this declaration, and if called

     upon as a witness, I could and would competently testify thereto.

            2.         I submit this declaration in support of Plaintiffs’ Motion to Strike the Declaration

     of Thomas Patrick Lane and Portions of the Declaration of Thomas Kearney filed

     contemporaneously herewith.

            3.         The Lane Declaration attaches as Exhibit L3 a list of works that Mr. Lane asserts

     were “registered more than 5 years after the date of first publication.” Lane Decl. ¶ 3.

            4.         Lane contends “I Can Transform Ya,” claimed by Warner-Tamerlane Publishing

     Corp., was registered more than five years after the date of first publication. Lane Decl. Ex. L3

     at 1. Attached as Exhibit 1 is a true and correct copy of the registration certificate for “I Can
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  Transform Ya” Plaintiffs produced, with Registration No. PA0001744956 and Bates No.

  WCP_00000597. According to Exhibit 1, “I Can Transform Ya” was first published on

  December 8, 2009 and registered on June 6, 2011.

          5.      Lane contends “U Know What’s Up,” claimed by WB Music Corp., was

  registered more than five years after the date of first publication. Lane Decl. Ex. L3 at 2.

  Attached as Exhibit 2 is a true and correct copy of the registration certificate for “U Know

  What’s Up” Plaintiffs produced, with Registration No. PA0001087583 and Bates No.

  WCP_00000711. According to Exhibit 2, “U Know What’s Up” was first published on October

  12, 1999 and was registered on June 12, 2002.

          6.     Lane contends “SexyBack,” claimed by W.B.M. Music Corp., was registered

  more than five years after the date of first publication. Lane Decl. Ex. L3 at 2. Attached as

  Exhibit 3 is the Copyright Office Catalog record for “SexyBack” Plaintiffs produced, with

  Registration No. PA0001368818 and Bates No. Plaintiffs_00002072. According to Exhibit 3,

  “U Know What’s Up” was first published on August 29, 2006 and was registered on March 2,

  2007.

          7.     Lane contends “Big Pimpin’/Papercut,” claimed by WB Music Corp., was

  registered more than five years after the date of first publication. Lane Decl. Ex. L3 at 2.

  Attached as Exhibit 4 is the registration certificate for “Big Pimpin’/Papercut” Plaintiffs

  produced, with Registration No. PA0001080612 and Bates No. Plaintiffs_00001188. According

  to Exhibit 4, “Big Pimpin’/Papercut” was first published on December 28, 1999 and was

  registered on April 25, 2002.

          8.     Lane contends “Acapella/by Karmin,” claimed by Sony Music Entertainment,

  was registered more than five years after the date of first publication. Lane Decl. Ex. L3 at 5.




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